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CERTIFICATE OF SERVICE:

I hereby certify that on YPlemboy 4. 202% electronically filed with the foregoing
Clerk of the District Court using its CM/ECF system, which would then electronically notify the
following CM/ECF participants:

Elliot Samuel Raimondo, Esq and Mary L. D’ Agostino, Esq.
Corporation Counsel, City of Jamestown

200 E. 3rd. Street

Suite 4

Jamestown, NY 14701

716 969-0359

SHAW & SHAW, P.C.

/s/Blake Zaccagnino
Blake Zaccagnino

Attorneys for Plaintiff

Office and Post Office Address
4819 South Park Avenue
Hamburg, NY 14075

(716) 648-3020 Telephone
(716) 648-3730 Fax

Bzaccagnino@shawlawpc.com
